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                           FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


         ANOTHER PLANET                         No. 21-16093
         ENTERTAINMENT, LLC,
                                              D.C. No. 3:20-cv-
                     Plaintiff-Appellant,        07476-VC

         v.                                 ORDER CERTIFYING
                                             QUESTION TO THE
         VIGILANT INSURANCE                    CALIFORNIA
         COMPANY,                            SUPREME COURT

                    Defendant-Appellee.



                          Filed December 28, 2022

              Before: Carlos T. Bea, Sandra S. Ikuta, and Morgan
                           Christen, Circuit Judges.
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                                    SUMMARY*



                                  California Law
           The panel certified the following question to the
        California Supreme Court:


                 Can the actual or potential presence of the
                 COVID-19 virus on an insured’s premises
                 constitute “direct physical loss or damage to
                 property” for purposes of coverage under a
                 commercial property insurance policy?




                                     COUNSEL

        Kirk Pasich (argued), Nathan M. Davis, and Arianna M.
        Young, Pasich LLP, Los Angeles, California, for Plaintiff-
        Appellant.
        Jonathan D. Hacker (argued), Jenya Godina, and Jeremy R.
        Girton, O’Melveny & Myers LLP, Washington, D.C.; Susan
        Koehler Sullivan, Douglas J. Collodel, Gretchen S. Carner,
        and Brett C. Safford, Clyde & Co US LLP, Los Angeles,
        California; for Defendant-Appellee.

        *
         This summary constitutes no part of the opinion of the court. It has been
        prepared by court staff for the convenience of the reader.
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                                  ORDER

            We respectfully ask the California Supreme Court to
        answer the certified question presented below, pursuant to
        California Rule of Court 8.548, because we have concluded
        that resolution of this question of California law “could
        determine the outcome of a matter pending in [this] court,”
        and “[t]here is no controlling precedent” in the decisions of
        the California Supreme Court. Cal. R. Ct. 8.548(a).
            This case involves an insured who sued for breach of
        contract, bad faith, and fraud when its insurer denied
        coverage for business income losses that the insured incurred
        following government closure orders issued during the
        COVID-19 pandemic. The insured alleged that the COVID-
        19 virus was present on its premises before the orders were
        issued, or would have been present had the insured not closed
        its venues in compliance with the orders, and it sought
        coverage under several provisions of its commercial property
        insurance policy that require “direct physical loss or damage
        to property” to trigger coverage. The district court dismissed
        the insured’s suit for failure to state a claim.
            The issue here is whether the insured’s allegations, if
        taken as true, were sufficient to show “direct physical loss or
        damage to property” as defined by California law.
                                       I
            We summarize the material facts. See Cal. R. Ct.
        8.548(b)(3). Another Planet is an event promoter and venue
        operator that owns event venues in California and Nevada. In
        2019, Vigilant Insurance Company issued a commercial
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        property insurance policy to Another Planet for the period
        from May 1, 2019 to May 1, 2020. After the COVID-19
        pandemic began in early 2020, government closure orders
        forced Another Planet to suspend its operations, close its
        venues, and cancel events, resulting in “substantial financial
        losses.” Another Planet sought and was denied coverage
        from Vigilant. In response, Another Planet filed an action in
        the Northern District of California, alleging breach of
        contract, bad faith, and fraud.
            Another Planet seeks coverage under several provisions
        of its policy that require actual or imminent “direct physical
        loss or damage to property”: (1) a set of four “Business
        Income” provisions stating that Vigilant will cover certain
        business income losses if they are caused by “direct physical
        loss or damage” to property; (2) a “Civil Authority” provision
        stating that Vigilant will cover losses caused by a civil
        authority’s prohibition of access to covered or dependent
        business premises as “the direct result of direct physical loss
        or damage to property” within one mile of the premises; and
        (3) a “Loss Prevention Expenses” provision stating that
        Vigilant will cover costs incurred to protect a building or
        personal property from “imminent direct physical loss or
        damage” caused by a covered peril if the insured provides
        notice of “any loss prevention action” within 48 hours.
            In its First Amended Complaint, Another Planet alleged
        that the COVID-19 virus “was present at various times on and
        in its insured properties, or would have been present had it
        not been for the closures of its properties directed to curb the
        spread of SARS-CoV-2.” It further alleged that aerosolized
        droplets of the COVID-19 virus can “stay suspended in air
        and infective for at least 16 hours” and can remain active on
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        inert surfaces for at least 28 days, meaning the droplets
        “physically alter the air and airspace in which they are present
        and the surfaces of both the real and personal property to
        which they attach, constituting physical loss or damage.”
        Another Planet claimed that the presence of COVID-19
        droplets “can render both real and personal property unusable
        for its intended purpose and function, constituting physical
        loss or damage.” The complaint also noted that minimizing
        the spread of COVID-19 “requires steps to be taken,”
        including “physical distancing, regular disinfection, air
        filtration, and further physical alterations, such as installation
        of physical barriers restricting the movement of the
        aerosolized droplets.”
            Vigilant filed a motion to dismiss under Federal Rule of
        Civil Procedure 12(b)(6), arguing that Another Planet had not
        sufficiently alleged direct physical loss or damage to
        property. The district court agreed and dismissed the case
        with prejudice after giving Another Planet one opportunity to
        amend its complaint. As relevant to this request for
        certification, the district court concluded that it “seem[ed]
        unknowable” whether the COVID-19 virus was actually
        present on Another Planet’s premises.
                                       II
            Because California law governs interpretation of the
        policy and the California Supreme Court has not yet
        considered the issue, we “must determine what result [that]
        court would reach based on state appellate court opinions,
        statutes and treatises.” Mudpie, Inc. v. Travelers Cas. Ins.
        Co. of Am., 15 F.4th 885, 889 (9th Cir. 2021) (quoting Diaz
        v. Kubler Corp., 785 F.3d 1326, 1329 (9th Cir. 2015)). “We
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        will ordinarily accept the decision of an intermediate
        appellate court as the controlling interpretation of state law.”
        Id. (quoting Tomlin v. Boeing Co., 650 F.2d 1065, 1069 n.7
        (9th Cir. 1981)). Here, however, two different divisions of
        the Second District of the California Courts of Appeal have
        issued conflicting decisions regarding whether allegations
        like Another Planet’s suffice to state a viable claim for “direct
        physical loss or damage to property.”
            Two months after the district court dismissed Another
        Planet’s suit, Division 4 of the Second District of the
        California Courts of Appeal decided United Talent Agency v.
        Vigilant Insurance Co., which involved claims for coverage
        under insurance provisions identical to those in Another
        Planet’s policy. 293 Cal. Rptr. 3d 65, 68 (Ct. App. 2022). In
        United Talent Agency, the insured alleged that the COVID-19
        virus had been present on its insured premises or would have
        been present but for the government closure orders and the
        insured’s efforts to reduce and prevent the virus’s presence;
        that several of the insured’s employees, their spouses, and
        their dependents had tested positive for COVID-19; and that
        COVID-19 droplets “land on and adhere to surfaces and
        objects” and thus “physically change the property by
        becoming part of its surface.” Id. at 69. The insured in
        United Talent Agency compared COVID-19 to “mold,
        asbestos, mudslides, smoke, oil spills, and other similar
        elements that cause property damage, although they later
        might be removed, cleaned, or remediated.” Id.
            The Court of Appeal in United Talent Agency held that
        the superior court properly sustained the insurer’s demurrer,
        concluding that the insured did “not establish[] that the
        presence of the virus constitutes physical damage to insured
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        property.” Id. at 76–80. The court acknowledged the
        existence of cases concluding that the presence of a “physical
        force” like “smoke, ammonia, odor, or asbestos” can
        constitute direct physical damage by “render[ing] real
        property uninhabitable or unsuitable for its intended use.” Id.
        at 77 (quoting Inns-by-the-Sea v. Cal. Mut. Ins. Co., 286 Cal.
        Rptr. 3d 576, 589 (Ct. App. 2021)). But the court reasoned
        that the presence of COVID-19 is only “‘short lived’
        contamination that can be addressed by simple cleaning” and
        thus does not constitute direct physical loss or damage. Id. at
        76–77 (quoting Inns-by-the-Sea, 286 Cal. Rptr. 3d at 588
        n.17).
            Three months after United Talent Agency, Division 7 of
        the Second District of the California Courts of Appeal came
        to a different conclusion in Marina Pacific Hotel & Suites,
        LLC v. Fireman’s Fund Insurance Co., a case involving the
        denial of coverage under a policy that also contained the same
        “direct physical loss or damage” language at issue here. 296
        Cal. Rptr. 3d 777, 780 (Ct. App. 2022). In Marina Pacific,
        the insureds alleged that the COVID-19 virus causes a
        “distinct, demonstrable or physical alteration to property”
        because it “actually bonds and/or adheres to . . . objects
        through physico-chemical reactions involving, inter alia,
        cells and surface proteins.” Id. at 781. The insureds claimed
        that the COVID-19 virus had been present “on a variety of
        physical objects in [their] insured properties, including
        furniture, countertops, walls, bedding, appliances and food
        and other packaged items, as well as in the air,” and that they
        had disposed of property damaged by the virus. Id. at
        781–82. Further, they alleged that “public health authorities
        ha[d] ordered that Hotel Erwin be evacuated, decontaminated,
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        or disinfected” after several employees of the hotel tested
        positive for COVID-19. Id. at 782.
            The Court of Appeal held in Marina Pacific that
        “[a]ssuming . . . the truth of those allegations, even if
        improbable, absent judicially noticed facts irrefutably
        contradicting them, the insureds ha[d] unquestionably
        pleaded direct physical loss or damage to covered property
        within the definition articulated in MRI Healthcare—a
        distinct, demonstrable, physical alteration of the property.”
        Id. at 787–90 (citing MRI Healthcare Ctr. of Glendale v.
        State Farm Gen. Ins. Co., 115 Cal. Rptr. 27, 37–38 (Ct. App.
        2010)). The court acknowledged that United Talent Agency
        was “[n]ot distinguishable” but maintained that the court
        there improperly disregarded the insured’s factual allegations
        as improbable when evaluating the insurer’s demurrer. Id. at
        790.
            On appeal, Another Planet highlights this split in
        authority and urges us to adopt Marina Pacific’s holding
        because United Talent Agency “misapplied California law by
        making factual conclusions contrary to those alleged in the
        operative complaint.” Vigilant disagrees, arguing that we
        should follow United Talent Agency because Marina Pacific
        “is an outlier decision at odds with an overwhelming body of
        precedent.” Vigilant contends that Marina Pacific “gave
        short shrift” to the court’s ability to “consider common-sense
        realities at the demurrer stage.”
            The answer to this question “could determine the outcome
        of [this] matter,” Cal. R. Ct. 8.548(b)(4), because if the
        allegation of the presence or potential presence of the
        COVID-19 virus is sufficient to show “direct physical loss or
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        damage to property,” the district court erred in dismissing
        Another Planet’s complaint for failure to state a claim, and
        we would remand to the district court for further proceedings.
        Alternatively, if the allegation is not sufficient, we would
        affirm the district court.
                                     III
            In light of the foregoing discussion, and because the
        answer to this question “could determine the outcome of a
        matter pending in [this] court,” Cal. R. Ct. 8.548(a), we
        respectfully certify to the California Supreme Court the
        following question:
               Can the actual or potential presence of the
               COVID-19 virus on an insured’s premises
               constitute “direct physical loss or damage to
               property” for purposes of coverage under a
               commercial property insurance policy?


            We do not intend our framing of this question to restrict
        the California Supreme Court’s consideration of any issues
        that it determines are relevant. If the California Supreme
        Court decides to consider the certified question, it may in its
        discretion reformulate the question. Broad v. Mannesmann
        Anlagenbau AG, 196 F.3d 1075, 1076 (9th Cir. 1999). We
        will accept the California Supreme Court’s decision on this
        question. See Cal. R. Ct. 8.548(b)(2).
            If the California Supreme Court accepts review of the
        certified question, we designate Appellant Another Planet
        Entertainment, LLC as the petitioner pursuant to California
        Rule of Court 8.548(b)(1).
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            The clerk of our court is hereby ordered to transmit
        forthwith to the California Supreme Court, under official seal
        of the United States Court of Appeals for the Ninth Circuit,
        a copy of this order and all relevant briefs and excerpts of
        record, along with a certificate of service on the parties. Cal.
        R. Ct. 8.548(c), (d).
            Further proceedings in our court are stayed pending the
        California Supreme Court’s decision on whether it will accept
        review, and if so, receipt of the answer to the certified
        question. This case is withdrawn from submission until
        further order from this court. The Clerk is directed to
        administratively close this docket, pending further order.
             The panel will resume control and jurisdiction on the
        certified question upon receiving an answer to the certified
        question or upon the California Supreme Court’s decision to
        decline to answer the certified question. Within 10 days after
        the California Supreme Court decides whether or not to
        accept the certified question, the parties shall file a joint
        report informing this court of the decision. If the California
        Supreme Court accepts the certified question, the parties shall
        file a joint status report every six months after the date of the
        acceptance, or more frequently if circumstances warrant.
            It is so ORDERED.
